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         In the United States Court of Federal Claims
                                  OFFICE OF SPECIAL MASTERS
                                          No. 18-0973V
                                         UNPUBLISHED


    DIANE GEARHART,                                           Chief Special Master Corcoran

                         Petitioner,                          Filed: November 15, 2019
    v.

    SECRETARY OF HEALTH AND                                   Special Processing Unit (SPU); Joint
    HUMAN SERVICES,                                           Stipulation on Damages; Influenza
                                                              (Flu) Vaccine; Shoulder Injury
                        Respondent.                           Related to Vaccine Administration
                                                              (SIRVA)


Bridget Candace McCullough, Muller Brazil, LLP, Dresher, PA, for petitioner.

Debra A. Filteau Begley, U.S. Department of Justice, Washington, DC, for respondent.


                               DECISION ON JOINT STIPULATION1

        On July 6, 2018, Diane Gearhart filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.,2 (the
“Vaccine Act”). Petitioner alleges that she suffered a shoulder injury related to vaccine
administration (“SIRVA”). Petition at 1; Stipulation, filed November 15, 2019, at ¶ 4.
Petitioner further alleges that she received the vaccine in the United States, that she
experienced the residual effects of this injury for more than six months, and that there
has been no prior award or settlement of a civil action for damages on her behalf as a
result of this condition . Petition at 1, 4-5; Stipulation at ¶¶ 3-5. “Respondent denies
that petitioner sustained a SIRVA Table injury; denies that the flu vaccine caused-in-fact
petitioner’s alleged shoulder injuries, or any other injury; and denies that her current
condition is a sequela of a vaccine-related injury. ” Stipulation at ¶ 6.


1 Because this unpublished ruling contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). This means the ruling will be available to anyone with access to
the internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to
redact medical or other information, the disclosure of which would constitute an unwarranted invasion of
privacy. If, upon review, I agree that the identified material fits within this definition, I will redact such
material from public access.
2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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        Nevertheless, on November 15, 2019, the parties filed the attached joint
stipulation, stating that a decision should be entered awarding compensation. I find the
stipulation reasonable and adopt it as my decision awarding damages, on the terms set
forth therein.

     Pursuant to the terms stated in the attached Stipulation, I award the following
compensation:

        A lump sum of $50,000.00 in the form of a check payable to Petitioner.
        Stipulation at ¶ 8. This amount represents compensation for all items of
        damages that would be available under § 15(a). Id.

       I approve the requested amount for Petitioner’s compensation. In the absence of
a motion for review filed pursuant to RCFC Appendix B, the clerk of the court is directed
to enter judgment in accordance with this decision.3

IT IS SO ORDERED.


                                          s/Brian H. Corcoran
                                          Brian H. Corcoran
                                          Chief Special Master




3 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.

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                IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                          OFFICE OF SPECIAL MASTERS

*************************************
DIANE GEARHART,                     *
                                    *
                  Petitioner,       *                         No.18-973V
                                    *                         CHIEF SPECIAL MASTER CORCORA;,i
v.                                  *
                                    *
SECRETARY OF HEALTH AND             *
HUMAN SERVICES,                     *
                                    *
                  Respondent.       *
*************************************

                                          STIPULATION

        The parties hereby stipulate to the following matters:

        I.     Petitioner filed a petition for vaccine compensation under the National Vaccine

Injury Compensation Program, 42 U.S.C. § 300aa-l0 to 34 (the "Vaccine Program"). The

petition seeks compensation for injuries allegedly related to petitioner's receipt of an influenza

("flu") vaccine, which vaccine is contained in the Vaccine Injury Table (the "Table"), 42 C.F.R.

§ I00.3 (a).

       2.      Petitjoner received a flu immunization on October 7, 2016.

       3.      The vaccine was administered within the United States.

       4.      Petitioner alleges that she sustained a right shoulder injury related to vaccine

administration ("SIRVA") within the time period set forth in the Table. She further alleges that

she has experienced residual effects of these injuries for more than six months.

       5.      Petitioner represents that there has been no prior award or settlement of a civil

action for damages on her behalf as a result of her condition.
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        6.      Respondent denies that petitioner sustained a SIRVA Table injury; denies that the

flu vaccine caused-in-fact petitioner's alleged shoulder injuries, or any other injury; and denies

that her current condition is a sequelae of a vaccine-related injury.

        7.      Maintaining their above-stated positions, the parties nevertheless now agree that

the issues between them shall be settled and that a decision should be entered awarding the

compensation described in paragraph 8 of this Stipulation.

        8.      As soon as practicable after an entry of judgment reflecting a decision consistent

with the terms of this Stipulation, and after petitioner has filed an election to receive

compensation pursuant to 42 U .S.C. § 300aa-21 (a)( I), the Secretary of Health and Human

Services will issue the following vaccine compensation payment:

        A lump sum of $50,000.00 in the form of a check payable to petitioner. This amount
        represents compensation for all damages that would be available under 42 U.S.C .
        § 300aa-15(a).

        9.      As soon as practicable after the entry of judgment on entitlement in this case, and

after petitioner has filed both a proper and timely election to receive compensation pursuant to

42 U.S.C. § 300aa-21(a)(l), and an application, the parties will submit to further proceedings

bet~re the special master to award reasonable attorneys' fees and costs incurred in proceeding

upon this petition.

        I 0.    Petitioner and her attorney represent that compensation to be provided pursuant to

this Stipulation is not for any items or services for which the Program is not primarily liable

under 42 U.S.C. § 300aa- I 5(g), to the extent that payment has been made or can reasonably be

expected to be made under any State compensation programs, insurance policies, Federal or

State health benefits programs (other than Title XIX of the Social Security Act (42 U.S.C.

§ 1396 et seq.)), or by entities that provide health services on a pre-paid basis.



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        11.     Payment made pursuant to paragraph 8 and any amounts awarded pursuant to

paragraph 9 of this Stipulation will be made in accordance with 42 U .S.C. § 300aa- I S(i), subject

to the availability of sufficient statutory funds.

        12.    The parties and their attorneys further agree and stipulate that, except for any

award for attorneys' fees, and litigation costs, the money provided pursuant to this Stipulation

will be used solely for the benefit of petitioner as contemplated by a strict construction of 42

U.S.C. § 300aa-15(a) and (d), and subject to the conditions of 42 U.S.C. § 300aa-15(g) and (h).

        13.     In return for the payments described in paragraphs 8 and 9, petitioner, in her

individual capacity and on behalf of her heirs, executors, administrators, successors or assigns,

does forever irrevocably and unconditionally release, acquit and discharge the United States and

the Secretary of Health and Human Services from any and all actions or causes of action

(including agreements, judgments, claims, damages, loss of services, expenses and all demands

of whatever kind or nature) that have been brought, could have been brought, or could be timely

brought in the Court of Federal Claims, under the National Vaccine Injury Compensation

Program, 42 U.S .C. § 300aa-l Oet seq., on account of, or in any way growing out of, any and all

known or unknown, suspected or unsuspected personal injuries to or death of petitioner resulting

from, or alleged to have resulted from, a flu vaccination administered on October 7, 2016, as

alleged by petitioner in a petition for vaccine compensation filed on or about July 6, 2018, in the

United States Court of Federal Claims as petition No. 18-973V.

       14.     If petitioner should die prior to entry of judgment, this agreement shall be

voidable upon proper notice to the Court on behalf of either or both of the parties.

       15.     If the special master fails to issue a decision in complete conformity with the

terms of this Stipulation or if the Court of Federal Claims fails to enter judgment in conformity



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    with a decision that is in complete conformity with the terms of this Stipulation, then the parties'

    settlement and this Stipulation shall be voidable at the sole discretion of either party.

            16.    This Stipulation expresses a full and complete negotiated settlement of liability

and damages claimed under the National Childhood Vaccine Injury Act of 1986, as amended,

except as otherwise noted in paragraph 9 above. There is absolutely no agreement on the part of

the parties hereto to make any payment or to do any act or thing other than is herein expressly .

stated and clearly agreed to. The parties further agree and understand that the award described in

this Stipulation may reflect a compromise of the pat~ies' respective positions as to liability and/or

amount of damages, and further, that a change in the nature of the injury or condition or in the

items of compensation sought, is not grounds to modify or revise this agreement.

           17.     This Stipulation shall not be construed as an admission by the United States or the

Secretary of Health and Human Services that petitioner sustained a SIRVA Table injury; that the

flu vaccine caused-in-fact petitioner's alleged shoulder injuries, or any other injul'y; or that her

current condition is a sequelae of a vaccine-related injury.

           18.     All rights and obligations of petitioner hereunder shall apply equally to

petitionel''s heirs, executors, administrators, successors, and/or assigns.

                               END OF STIPULATION

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 Respectfully submitted,

 PETITIONER:


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 DIANE    GEARHART
 ATTORNEY OF RECORD FOR                        AUTHORIZED REPRESENTATIVE
 PETI IONER:                                   OF THE ATTORNEY GENERAL:




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                                               Washington, DC 20044-0146

AUTHORIZED REPRESENTATIVE                      ATTORNEY OF RECORD FOR
OF THE SECRETARY OF HgALTH                     RESPeNDENT:
AND HUMAN SERVICES:

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